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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )         Docket No. 4:05CR3025
           v.                        )
                                     )
DANIEL L. MOORE,                     )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. Defendant’s motion to continue, filing 163, is granted
and the change of plea hearing is continued to June 5, 2006, at
1:00 p.m. before the undersigned magistrate judge in Courtroom 2,
United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     3.   Defendant shall appear at the hearing.

     DATED: April 5, 2006.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
